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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

  ABELARDO MORALEZ,

          Plaintiff,                                 Case No. 17-10567
                                                     Honorable Laurie J. Michelson
  v.                                                 Magistrate Judge Anthony P. Patti

  MICHIGAN LIQUOR CONTROL
  COMMISSION,

          Defendant.


   ORDER ACCEPTING REPORT AND RECOMMENDATION [133], GRANTING
         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT [89]


         Before the Court is Magistrate Judge Anthony P. Patti’s August 9, 2018, Report and

 Recommendation. (R. 133.) The Report recommends granting the remaining motion to dismiss in

 this case. (R. 89.) At the Report’s conclusion, Magistrate Judge Patti notified the parties that they

 were required to file any objections within fourteen days of service, as provided in Federal Rule

 of Civil Procedure 72(b)(2) and Eastern District of Michigan Local Rule 72.1(d), and that “[f]ailure

 to file specific objections constitutes a waiver of any further right of appeal.” (R. 133,

 PageID.1031–1032.) It is now August 29, 2018. As such, the time to file objections has expired.

 No objections have been filed.

        The Court finds that the parties’ failure to object is a procedural default, waiving review of

 the Magistrate Judge’s findings by this Court. In United States v. Walters, 638 F.2d 947, 949–50

 (6th Cir. 1981), the Sixth Circuit established a rule of procedural default, holding that “a party

 shall file objections with the district court or else waive right to appeal.” And in Thomas v. Arn,

 474 U.S. 140, 144 (1985), the Supreme Court explained that the Sixth Circuit’s waiver-of-

 appellate-review rule rested on the assumption “that the failure to object may constitute a
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 procedural default waiving review even at the district court level.” 474 U.S. at 149; see also

 Garrison v. Equifax Info. Servs., LLC, No. 10-13990, 2012 WL 1278044, at *8 (E.D. Mich. Apr.

 16, 2012) (“The Court is not obligated to review the portions of the report to which no objection

 was made.” (citing Thomas, 474 U.S. at 149–52)). The Court further held that this rule violates

 neither the Federal Magistrates Act nor the Federal Constitution.

        The Court therefore finds that the parties have waived further review of the Magistrate

 Judge’s Report and accepts his recommended disposition. It follows that the Michigan Liquor

 Control Commission’s motion to dismiss (R. 89) is GRANTED. As this resolves all remaining

 issues, the case will be dismissed.

        SO ORDERED.



        Dated: August 30, 2018                               s/Laurie J. Michelson
                                                             U. S. DISTRICT JUDGE


                                       CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing document was served on the
 attorneys and/or parties of record by electronic means or U.S. Mail on August 30, 2018.
                 +
                                                      s/Teresa McGovern
                                                      Case Manager Generalist




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